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     Assistant Federal Defender
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6    Attorney for Defendant
     AUDREY JOHNSON
7
8                             IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                     )   Case No. 2:15-cr-00029 TLN
11                                                 )
                          Plaintiff,               )   STIPULATION AND [PROPOSED] ORDER
12                                                 )   TO MODIFY CONDITIONS OF PRETRIAL
            v.                                     )   RELEASE
13                                                 )
     AUDREY JOHNSON,                               )
14                                                 )   Judge: Hon. Dale A. Drozd
                          Defendant.               )
15                                                 )
16
             IT IS HEREBY STIPULATED by and between Assistant United States Attorney
17
     Matthew Morris, attorney for Plaintiff and Assistant Federal Defender Douglas Beevers, attorney
18
     for Audrey Johnson that the pretrial release conditions imposed on Ms. Johnson on February 4,
19
     2015, may be modified as set forth below.
20
             Accordingly, the parties and Pretrial Services Officer, Steven Sheehan, respectfully
21
     request that this Court modify Ms. Johnson’s “Special Conditions of Release” by adding an
22
     additional condition. This condition would be added as condition number 14 and would read as
23
     follows:
24
25           Defendant shall submit to drug and/or alcohol testing as approved by the pretrial services
     officer. Defendant shall pay all or part of the costs of the testing services based upon her ability
26
     to pay, as determined by the pretrial services officer.
27
     //
28

      STIPULATION AND [PROPOSED] ORDER TO MODIFY       -1-                                  15-cr-00029 TLN
      CONDITIONS OF PRETRIAL RELEASE
        Case 2:15-cr-00029-TLN Document 30 Filed 05/28/15 Page 2 of 2


1             The defendant makes this request pursuant to 18 U.S.C. § 3141(c) (3) which permits this
2    Court to modify the conditions of release at any time.
3
     Dated: May 28, 2015                                    Respectfully submitted,
4
5                                                           HEATHER WILLIAMS
                                                            Federal Defender
6
                                                            /s/ Douglas Beevers
7                                                           DOUGLAS J. BEEVERS
                                                            Assistant Federal Defender
8
                                                            Attorney for Defendant
9                                                           AUDREY JOHNSON

10
11   DATED: May 28, 2015                                    BENJAMIN B. WAGNER
                                                            United States Attorney
12
13                                                          /s/ Douglas Beevers for
                                                            MATTHEW MORRIS
14                                                          Assistant U.S. Attorney
                                                            Attorney for Plaintiff
15
16
                                                   ORDER
17
              IT IS HEREBY ORDERED that condition number 14 shall be added to the Special
18
     Conditions of Release to require the defendant to submit to drug and/or alcohol testing as
19
     approved by the pretrial services officer. Defendant shall pay all or part of the costs of the testing
20   services based upon her ability to pay, as determined by the pretrial services officer.
21   Dated: May 28, 2015
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23
24   dad1.crim
     johnson0029.stipo.modify.cor
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26
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      STIPULATION AND [PROPOSED] ORDER TO MODIFY      -2-                                      15-cr-00029 TLN
      CONDITIONS OF PRETRIAL RELEASE
